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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X             1/12/2021
DINO ANTOLINI,                                                 :
                                                               :   19-CV-7645 (VSB) (RWL)
                                    Plaintiff,                 :
                                                               :   ORDER
                  - against -                                  :
                                                               :
RAMON NIEVES, et al.,                                          :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        As discussed with counsel at the conference held on January 12, 2021,

        1. Within an hour following the conference – i.e., by 11:20 a.m. on January 12,

2021, Plaintiff counsel shall email to defense counsel and the Court the expert report

Plaintiff purports to have served by email on December 11, 2020.

        2. By January 13, 2021, Plaintiff counsel shall file an affidavit of service of the

expert report purportedly mailed to defense counsel on December 11, 2020. The affidavit

of service shall set forth the means of service, the time of mailing, and the steps taken by

counsel to ensure mailing of the report. The affidavit of service shall also describe the

color and size of envelope used to mail the report. The affidavit of service shall also

explain why on December 11, 2020, Plaintiff counsel did not also or instead email the

report to defense counsel.

        3. Defense counsel may file a sworn statement concerning non-receipt of Plaintiff's

expert report purportedly mailed on December 11, 2020, and the steps taken to make

that determination.




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       4. Counsel shall cooperate with my Courtroom Deputy to schedule a follow-up

settlement conference in February.

                                          SO ORDERED.



                                          _________________________________
                                          ROBERT W. LEHRBURGER
                                          UNITED STATES MAGISTRATE JUDGE

Dated: January 12, 2021
       New York, New York

Copies transmitted this date to all counsel of record.




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